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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

In re:                                                  CASE NO.: 18-24251-BKC-AJC
                                                        Chapter 7
IDELLA GORE
SSN: XXX-XX-1569

         Debtor(s).                 /

    JOEL L. TABAS, TRUSTEE'S SECOND AGREED EX PARTE MOTION TO
ENLARGE (A) TIME TO FILE OBJECTIONS TO DEBTORS’ CLAIMED EXEMPTIONS
  AND (B) TIME TO FILE COMPLAINT OBJECTING TO DEBTORS’ DISCHARGE

         Joel L. Tabas, as Chapter 7 Trustee of the Bankruptcy Estate of Idella Gore (the

“Trustee”), through counsel, files this Second Agreed Ex Parte Motion to Enlarge (A) Time

to File Objections to Debtors’ Claimed Exemptions and (B) Time to File Complaint

Objecting to Debtors’ Discharge (the “Motion”) pursuant to Fed.R.Bankr.P. 9006(b) and

Local Rule 9013-1(C) and in support thereof, states as follows:

         1.    This case commenced as a Chapter 7 proceeding on November 16, 2018.

         2.    The § 341 Meeting of Creditors was scheduled and held on December 19,

2018.

         3.    The deadline for the Trustee to (a) file objections to the Debtors’ claimed

exemptions is January 18, 2019 (b) file a complaint objecting to the Debtors’ discharge is

March 19, 2019.

         4.    After an initial review of the Debtors’ petition, documents and schedules,

additional information is needed from the Debtors in order for the Trustee to determine

(a) whether there is any basis to object to the Debtors’ claimed exemptions and (b)

whether there is any basis to object to the Debtors’ discharge.
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       5.     Accordingly, counsel for the Trustee requests an enlargement, up to and

including, March 19, 2019, for the Trustee to file (a) objections to the Debtors’ claimed

exemptions and (b) a complaint objecting to the Debtors’ discharge.

       6.     This request is made on behalf of the Trustee, and is not intended as a

request for enlargement for any creditor.

       7.     Fed.R.Bankr.P. 9006(b) provides that the Court may, for cause shown,

enter an Order enlarging time, with or without motion or notice, if the request is made

before the expiration of the period originally prescribed or as extended.

       8.     Pursuant to Local Rule 5005-1(G), a proposed Order accompanies this

Motion.

       WHEREFORE, Joel L. Tabas, as Chapter 7 Trustee of the Bankruptcy Estate of

Idella Gore, respectfully requests this Honorable Court enter an Order: (1) finding that

cause exists to enlarge the time for the Trustee to file objections to the Debtors’ claimed

exemptions; (2) enlarging the time for the Trustee to file objections to the Debtors’ claimed

exemptions, up to and including, May 17, 2019; (3) finding that cause exists to enlarge

the time for the Trustee to file a complaint objecting to the Debtors’ discharge; (4)

enlarging the time for the Trustee to file a complaint objecting to the Debtors’ discharge

up to and including, May 17, 2019; and (5) granting such other and further relief as this

Court deems just and proper.

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 18, 2019, a true and correct copy of the

foregoing was served via electronic transmission to the parties who are currently on the

list to receive e-mail notice/service for this case, and via U.S. Mail to:

Idella Gore
2001 NW 183rd St
Miami Gardens, FL 33056
                                           Respectfully submitted,


                                           /s/ Joel L. Tabas
                                           Joel L. Tabas
                                           Fla. Bar No. 516902
                                           Tabas & Soloff, P.A.
                                           Attorneys for Trustee, Joel L. Tabas
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